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April 2, 2024

To whom it may concern-

I am writing this letter on behalf of my friend, Antony Vo. I have had the pleasure of knowing
Antony since 2022, when he introduced himself to our diverse tennis community here in Key
West, Florida. I would describe Antony as a quiet, intelligent, fun and kind person. He is a
generous human, with a calm demeanor. I have hosted memorial tennis tournament fund-raisers
annually in honor of a friend who passed away much too soon from cancer, and Antony was one
of the first to participate and donate to the cause. He has always been active in supporting my
children’s athletic programs as well. He has immersed himself in our little community and has
made a positive impact in the southernmost city of the US!

I strongly believe that Antony Vo should not be sentenced to any time in prison for his
participation in the January 6th protests. He is a good person and is a risk to no one. For this to
be under consideration in a court makes absolutely no sense to me. Please exercise leniency with
this case. Thank you for your consideration.

Sincerely,

Sarah Baxter.
